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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 STEWART SMITH and BRENNAN                              CIVIL ACTION
 LANDY, individually and on behalf of all
 others similarly situated,                            No. 2:19-cv-20673

 Plaintiffs,                                  MEMORANDUM OF LAW IN SUPPORT
                                             OF DEFENDANT’S MOTION TO DISMISS
 v.                                               PLAINTIFFS’ COMPLAINT

 PRO CUSTOM SOLAR LLC d/b/a                         Oral Argument Requested
 MOMENTUM SOLAR,
                                                  Motion Date: August 17, 2020
 Defendant.
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        Pro Custom Solar LLC d/b/a Momentum Solar (“Defendant”), by and through its

 undersigned counsel, hereby moves this Court for a dismissal of the claims lobbed by plaintiffs

 Stewart Smith and Brennan Landy (collectively, “Plaintiffs”) under Federal Rule of Civil

 Procedure 12(b)(6).

                                 PRELIMINARY STATEMENT

        Plaintiffs’ one-count complaint seeks recovery of statutory damages under the Telephone

 Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

        Plaintiffs’ complaint warrants dismissal. Plaintiffs fail to state a valid claim under the

 TCPA because they failed to allege the necessary elements for liability; warranting dismissal

 under Rule 12(b)(6) for failure to state a claim upon which relief can be granted.

        If the Court finds that Plaintiffs have pled a sufficient claim against Defendant based on

 the low pleading standard and deference given plaintiffs in such motions, Defendant respectfully

 requests that the Court immediately set a briefing schedule for Defendant’s motion for summary

 judgment under Rule 12(b)(6). That motion would center on the issue that the dialer used to

 place the calls does not, as a matter of law, qualify as an automatic telephone dialing system

 (“ATDS”) and that the dialer did not, as a matter of law, make use of a prerecorded voice.

                                      LEGAL ARGUMENT

 I.     PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE THE ELEMENTS REQUIRED
        TO ESTABLISH LIABILITY UNDER THE TCPA.

        A claim must be dismissed when it fails to state a claim upon which relief can be granted.

 Montinola v. Synchrony Bank, 2018 WL 4110940, at *1–2 (D.N.J. Aug. 28, 2018). To survive a

 motion to dismiss under Rule 12(b)(6), a plaintiff must allege “enough facts to state a claim to

 relief that is plausible on its face.” Viggiano v. Kohl’s Dep’t Stores, Inc., 2017 WL 5668000, at


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 *2 (D.N.J. Nov. 27, 2017) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A claim is

 plausible when the pleaded factual content allows the court to draw the reasonable inference that

 a defendant is liable for the misconduct alleged. Id. “Determining whether a complaint states a

 plausible claim for relief [is] . . . a context-specific task that requires [it] to draw on its judicial

 experience and common sense.” Id (citing Iqbal, 556 U.S. at 678). “[W]here the well-pleaded

 facts do not permit the court to infer more than the mere possibility of misconduct, the complaint

 has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’ ” Id. (citing Iqbal,

 556 U.S. at 679). Although the plausibility standard “does not impose a probability requirement,

 it does require a pleading to show more than a sheer possibility that a defendant has acted

 unlawfully.” Montinola, 2018 WL 4110940, at *1. A complaint must contain more than labels

 and conclusions, and a formulaic recitation of the elements of a cause of action to survive a

 motion to dismiss. Viggiano, 2017 WL 5668000, at *2. Plaintiffs’ complaint fails to meet the

 controlling standard and should be dismissed under Rule 12(b)(6).

        First, Plaintiffs fail to validly allege the use of an ATDS.           The TCPA defines an

 “automatic telephone dialing system” to mean “equipment which has the capacity—(A) to store

 or produce telephone numbers to be called, using a random or sequential number generator; and

 (B) to dial such numbers.” 47 U.S.C. § 227(a)(1). Plaintiffs fail to allege multiple elements

 required to establish liability under the TCPA.

        Plaintiffs’ complaint alleges that the dialer at issue “has the capacity to store, produce,

 and dial random or sequential numbers, and/or receive and store lists of telephone numbers, and

 to dial such numbers, en masse, in an automated fashion without human intervention.” Compl.

 at ¶ 10. Plaintiffs do not identify the dialer or provide any factual basis for these allegations;



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 however, that is secondary to the fact that Plaintiffs’ stated definition is inconsistent with the

 controlling definition of an ATDS. As this Court has previously confirmed, the mere presence of

 a “predictive dialer” is not sufficient to meet the definition of an ATDS under the TCPA.

 Fleming v. Assoc. Credit Srvs., Inc., 342 F. Supp. 3d 563, 574 (D.N.J. 2018) (McNulty, J.) (“I

 hold that when the D.C. Circuit vacated the 2015 FCC Declaratory Ruling it also necessarily set

 aside the parts of the previous 2003 and 2008 FCC Orders that ruled that a predictive dialer was

 impermissible under the TCPA.”)       In Dominguez, the Third Circuit held that the critical

 inquiry—post ACA International—is whether the technology at issue can “function as an

 autodialer by generating random or sequential telephone numbers and dialing those numbers.”

 Dominguez v. Yahoo! Inc., 894 F.3d 116, 121 (3d Cir. 2018). The inquiry is no longer whether

 the technology could dial from a list in an automated fashion. See id.; see also Richardson v.

 Verde Energy USA, Inc., 354 F. Supp. 3d 639, 647 (E.D. Pa. 2018). This year alone, the 11th

 and 7th Circuits have adopted similar views of the ATDS definition—with which Plaintiffs’

 complaint fails to align. Glasser v. Hilton Grand Vacations Co., LLC, 948 F.3d 1301 (11th Cir.

 2020); Gadelhak v. AT&T Servs., Inc., 950 F.3d 458 (7th Cir. 2020).

        Despite that established standard and controlling precedent in this Circuit, Plaintiffs rest

 their claims on an allegation that Defendant is responsible for calls placed using a predictive

 dialer. Plaintiffs allege merely that the technology at issue dials telephone numbers from a list

 without human intervention. Compl. at ¶ 10. That is insufficient to meet the definition of an

 ATDS established by the Third Circuit in Dominguez. Fleming, 342 F.Supp.3d at 576. As Your

 Honor has previously stated: “The phrase ‘using a random or sequential number generator,’ I

 believe, applies to the manner in which the numbers make their way onto the list—not to the



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 manner in which the numbers are dialed once they are on the list.” Id. at 576; see also Pinkus v.

 Sirius XM Radio, Inc., 319 F. Supp. 3d 927, 938 (N.D. Ill. 2018). That is consistent with the

 Third Circuit’s earlier consideration of that that question, where it confirmed that “the definition

 of ‘random and sequential’ number generation . . . refers to the numbers themselves rather than

 the manner in which they are dialed.” Dominguez v. Yahoo!, 629 F. App’x 369, 372 (3d Cir.

 2015). Because Plaintiffs’ allegations concerning the technology at issue here are inconsistent

 with the controlling definition of an ATDS, they have not stated a valid claim upon which relief

 could be granted.

        Second, Plaintiffs fail to validly allege the use of a prerecorded voice. A pleading that

 merely alleges a voice is prerecorded, without more, is a pleading that will not survive dismissal.

 See Trumper v. GE Capital Retail Bank, 79 F. Supp. 3d 511, 513 (D.N.J. 2014) (emphasizing

 that the pleading “provides no factual allegations suggesting that that the voice on the other end

 of the line was prerecorded”); see also Douek v. Bank of Am. Corp., 2017 WL 4882492 (D.N.J.

 Oct. 30, 2017) (granting dismissal motion due to the plaintiff’s insufficient allegations of a

 prerecorded voice).

        Plaintiffs put forth no allegations regarding the allegedly prerecorded voice, beyond the

 self-serving allegation that they received a call featuring a prerecorded voice. That is not

 enough. Compare Gesten v. Stewart Law Grp., LLC, 67 F. Supp. 3d 1356, 1358 (S.D. Fla. 2014)

 (noting that the plaintiff described the voices as having “disjointed cadence and a timbre which

 suggest they were created with an artificially produced voice”).

        Third, it is relevant that Plaintiffs do not allege that Defendant called them without

 consent.   Consent is a fully dispositive defense to Plaintiffs’ TCPA claim.            47 U.S.C.



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 § 227(b)(1)(A). But Plaintiffs do not, because they cannot, allege that any calls from Defendant

 were placed without consent. To be clear, Plaintiffs allege they “never provided any consent for

 an initial call” and then speak to “retroactive consent.” Compl. at ¶¶ 23, 29 (emphasis added).

 Plaintiffs state these allegations carefully to imply a lack of consent; however, the gap between

 their allegations are both important and dispositive. Plaintiffs do not, because they cannot, allege

 that the “initial call” came from Defendant. They argue regarding “retroactive consent” because

 they know that they did provide consent for Defendant’s subsequent call. Tellingly, Plaintiffs

 never allege that Defendant lacked consent for any call it placed to them. Plaintiffs’ failure to

 allege that Defendant called their respective telephone numbers without consent is fatal to their

 claims.

           Dismissal under Rule 12(b)(6) is warranted.

 II.       ALTERNATIVELY, DEFENDANT RESPECTFULLY REQUESTS PERMISSION
           TO FILE A MOTION FOR SUMMARY JUDGMENT DEMONSTRATING THAT
           THE DIALER AT ISSUE DOES NOT QUALIFY AS AN ATDS.

           Even if the Court accepts that Plaintiffs have alleged enough to defeat a Motion to

 Dismiss (which they have not), Plaintiffs’ factual basis is lacking and, once evidence of the

 dialer at issue is established, Defendant will be entitled to judgment as a matter of law. Thus, if

 the Court permits Plaintiffs’ complaint to stand, Defendant respectfully requests that the Court

 set an immediate schedule for Defendant to move this Court for summary judgment on the basis

 that the dialer at issue does not qualify as an ATDS and did not use a prerecorded voice.

           It would be a waste of resources for the Court and parties to engage in extensive pre-trial

 discovery, depositions, and motion practice only for the Court to dismiss these claims as a matter

 of law because the undisputed dialer at issue does not meet the Third Circuit’s criteria of



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 unlawful. As discussed above, under controlling Third Circuit precedent, held in Dominguez, the

 technology at issue can “function as an autodialer by generating random or sequential telephone

 numbers and dialing those numbers.” Dominguez, 894 F.3d at 121; see also Fleming v. Assoc.

 Credit Servs., Inc., 342 F. Supp. at 575-76 (D.N.J. 2018) (quoting Pinkus, 319 F. Supp. 3d at

 935); Richardson, 354 F. Supp. 3d at 647; see also Glasser, 948 F.3d 1301; Gadelhak, 950 F.3d

 458.

        In Fleming, the defendant’s predictive dialing platform “placed its calls off of a stored list

 that was uploaded and then dialed.” 342 F. Supp. 3d at 572. The Court held that because the

 phone numbers were not “randomly or sequentially generated for placement onto that campaign

 database call list,” the system did not meet the statutory definition of an ATDS and granted the

 defendant summary judgment. Id. at 577-78.

        Like the dialer in Fleming, Defendant’s dialer “cannot produce numbers to be dialed

 using a random or sequential number generator. Nor does it use an artificial or pre-recorded

 voice.” 342 F. Supp. 3d at 568. Plaintiffs do not, because they cannot, allege that Defendant

 dialed their respective numbers (or the number of any putative class member) randomly or

 sequentially. In fact, Plaintiffs allege that Defendant called their respective numbers as a result

 of (what Plaintiffs argue was deficient) oral consent. E.g., Compl. at ¶ 29. The undisputed

 record will show that Plaintiffs were called based on interest they expressed in receiving

 residential solar panels from Defendant and not as the result of random number generation. If

 necessary, Defendant can and will demonstrate that the dialer it employed does not and cannot

 qualify as an ATDS under the TCPA—and that it did not make use of a prerecorded voice.




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                                        CONCLUSION

        For the forgoing reasons, Defendant respectfully requests that the Court dismiss

 Plaintiffs’ claims or, in the alternative, permit an immediate motion for summary judgment.

 Dated: Florham Park, New Jersey
        July 23, 2020
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